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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   CONSWALLO TURNER, TIESHA                           CASE NO. 0:24-cv-60591-DAMIAN/Valle
   FOREMAN, ANGELINA WELLS,
   PAULA LANGLEY, VERONICA KING,
   NAVAQUOTE, LLC and WINN
   INSURANCE AGENCY, LLC, individually
   and on behalf of all others similarly situated,

                            Plaintiffs,

           v.

   ENHANCE HEALTH, LLC,
   TRUECOVERAGE, LLC, SPERIDIAN
   TECHNOLOGIES, LLC, BENEFITALIGN,
   LLC, NUMBER ONE PROSPECTING,
   LLC d/b/a MINERVA MARKETING,
   BAIN CAPITAL INSURANCE FUND
   L.P., DIGITAL MEDIA SOLUTIONS LLC,
   NET HEALTH AFFILIATES, INC.,
   MATTHEW B. HERMAN, BRANDON
   BOWSKY, GIRISH PANICKER, and
   MATTHEW GOLDFUSS,

                            Defendants.


                  DEFENDANT BAIN CAPITAL INSURANCE FUND L.P.’S
                  UNOPPOSED MOTION FOR INCREASE OF PAGE LIMIT

         Defendant Bain Capital Insurance Fund L.P. (“BCIF”), by and through undersigned

  counsel, respectfully requests that the Court grant BCIF a five-page increase of the page limit for

  its forthcoming reply in support of its motion to dismiss (making BCIF’s limit fifteen rather than

  ten pages) to account for Plaintiffs’ use of 1.5-spacing in its response brief. This is BCIF’s first

  request for a page-limit increase and Plaintiffs do not oppose the request. In support of this motion,

  BCIF states as follows:
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            1.    Prior to Defendants’ filing of their motions to dismiss, counsel for Defendants made

  a phone call to this Court’s chambers and was advised that, notwithstanding Local Rule 5.1(a)(4)

  (permitting typewritten documents to use 1.5-spacing), the Court requires filings to be double-

  spaced.

            2.    On October 16, 2024, BCIF filed its motion to dismiss Plaintiffs’ amended

  complaint with prejudice. ECF No. 122. BCIF used double-spacing in its motion in accordance

  with the Court’s instructions. See id. BCIF’s co-defendants also used double-spacing in their joint

  motion. See ECF No. 100.

            3.    On November 6, 2024, Plaintiffs filed responses to both BCIF’s motion to dismiss

  and BCIF’s co-defendants’ joint motion to dismiss. ECF Nos. 132–33. While Plaintiffs used

  double-spacing in their response to the joint motion, they used 1.5-spacing in response to BCIF’s

  motion. See id. By using 1.5-spacing, and utilizing the entirety of their 15-page limit, Plaintiffs

  effectively responded to BCIF’s 15-page double-spaced motion with approximately 20 double-

  spaced pages of argument.

            4.    To ensure BCIF is afforded sufficient space to reply to Plaintiffs’ arguments, BCIF

  respectfully requests a five-page increase of its page limit for its forthcoming reply brief, which

  would bring BCIF’s page limit up from ten to fifteen pages. See Local Rule 7.1(c)(2). BCIF will

  use double-spacing in its reply brief.

                            LOCAL RULE 7.1(a)(3) CERTIFICATION

            Counsel for BCIF conferred with Plaintiffs’ counsel before filing this motion and

  confirmed that Plaintiffs do not oppose BCIF’s request for a five-page increase of the page limit.




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   Dated: November 8, 2024                 Kirkland & Ellis LLP


                                           /s/ Ariel Deitchman
                                           Ariel Deitchman
                                           KIRKLAND & ELLIS LLP
                                           Three Brickell City Centre
                                           98 S.E. 7th Street, Suite 700
                                           Miami, FL 33131
                                           Telephone: +1 305 432 5600
                                           Facsimile: + 1 305 432 5601

                                           Jay P. Lefkowitz, P.C. pro hac vice
                                           Josh Greenblatt, P.C. pro hac vice
                                           KIRKLAND & ELLIS LLP
                                           601 Lexington Avenue
                                           New York, NY 10022
                                           United States
                                           Telephone: +1 212 446 4800
                                           Facsimile: +1 212 446 4900

                                           John M. Robinson pro hac vice
                                           KIRKLAND & ELLIS LLP
                                           333 West Wolf Point Plaza
                                           Chicago, IL 60654
                                           United States
                                           Telephone: +1 312 862 2000
                                           Facsimile: +1 312 862 2200

                                           Attorneys for Defendant Bain Capital
                                           Insurance Fund L.P.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served by ECF on

  November 8, 2024 on all counsel or parties of record.

                                                          /s/ Ariel Deitchman

                                                          Ariel Deitchman




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